* Case 1:11-cr-20209-PAS Document 17-2 Entered on FLSD Docket 06/17/2011 Page 1of3

U.S. Department of Justice

Federal Bureau of Investigation

FBI Academy
In Reply, Please Refer to Quantico, Virginia 22135
File No.

April 15, 1996

Mr. Barry Minkow
5445 Lindley Avenue
Apt. 17

Tarzana, California
Dear Mr. Minkow:

The Federal Bureau of Investigation (FBI) will conduct
a specialized training seminar for the purpose of providing
Certified Public Accountants (CPAs) within the FBI the Continuing
Professional Education credits required by the American Institute
of CPAs, while at the same time providing instruction relevant to
the criminal investigator. There will be approximately 200 FBI
Agents (SAs) attending the seminar. This particular seminar will
be hela at the FBI Academy located on the Quantico Marine Corps
Base, approximately 50 miles south of Washington, D.C. The
seminar will commence at 8 a.m. on Monday June 17, 1996 and will
conclude at approximately 12 p.m. on Friday June 21, 1996.

As previously discussed with Supervisory Special Agent
(SSA) Gary J. Kruchten you are requested to give two
presentations. The first presentation, "Z Best A Study In
Fraud", will be from 12 noon to 2:00 p.m. on Wednesday June 19,
1996 in the Forum. The second presentation, "Ethics in Business,
The Motive Behind the Con", will be from 6:30 pm - 8:30 p.m. on
Wednesday 6/19/96 in the Forun.

A dormitory room has been reserved for you at the FBI
Academy for Tuesday June 18 and Wednesday June 19, 1996. You
will be paid an honorarium of $500 and reimbursed for your travel
expenses by the Federal Bureau of Investigation. When you have
made your flight reservations, please advise SSA Kruchten in
order that arrangements can be made for Dafre, a limo service to
provide your transportation from Dulles Airport to the FBI
Academy. Please find enclosed copies of the following: "General
Information for Academy Training", a map with directions to the
FBI Academy and a listing of Dafre pick up times and rate
information.

UUS3ei

* Case 1:11-cr-20209-PAS Document 17-2 Entered on FLSD Docket 06/17/2011 Page 2 of 3

Mr. Barry Minkow

Your cooperation in this matter is greatly appreciated.
Should you have any questions concerning this matter please
contact SSA Kruchten, FBI Academy, telephone number (703) 640-
1189.

Sincerely yours 3,

\ 7 rx
George B. Clow II

Assistant Director

GWUZ3 2

| * Cas

i

e 1:11-cr-20209-PAS Document 17-2 Entered on FLSD Docket 06/17/2011 Page 3 of 3
U.S. Department of Justice

at

Federal Bureau of Investigation

FAI Academy
Quantica, Virginia

September 9, 1996

Mr. Barry Minkow

5445 Lindley Avenue
Apartment 17

Tarzana, California 91386

Dear Barry?

Please accept my apology for sending you this letter of
appreciation so late but unfortunately I have bean in a travel
status the last two months. Your presentation was very well
received as evidenced by the course evaluations and personal

comments made ta me by many of the attendees.

On behalf of the FBI and all of the attendees I want to

express our sincere thanks for a job well done and for your
personal sacrifice of time in the preparation and delivery of

your presentation.
Sincerely,

Ke} fer

Gary Jd. Kruchten
Supervisory Special Agent

O02328

SOTSd0 STUIH BOeNDHS WHES:TT 246. 3G AUW re vpes

